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October 6, 2017

VIA ECF

Honorable Valerie Caproni, U.S.D.J.
United States District Court
Southern District of New York

40 Foley Square, Room 240

NeW York, NY 10007

Re: Zayas v. Serafina Meatpacking LLC et al
Case No.: 17-cv-3111

Dear Judge Caproni:

We represent Defendants Little West 12th Street Realty L.P. and Serafina
Meatpacking LLC (collectively “Defendants”) in connection With the above~referenced matter,
and Subrnit this letter jointly With counsel for Plaintiff. We Write to provide the Court With a
status letter.

Wc are pleased to report that after extensive negotiations the parties reached an
agreement in principle to resolve the case. In light of the agreement in principle, the parties
respectfully request that the pre-trial conference scheduled for October 13, 2017 be adjourned
sine die, pending the parties drafting and execution of a settlement agreement, and filing of a
stipulation of dismissal We anticipate that this Will occur in the next approximately thirty (30)
days. There has been no prior request to adjourn the pretrial conference

Thank you for your consideration in this regard.

Respectfully submitted,

   

'ah K. Hook

cc: J ames E. Bahamonde, Esq. (Plaintift"s Counsel, via ECF)

